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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NORTH DAKOTA


In Re:                                             Case No.: 17-30112

Vanity Shop of Grand Forks,                        Chapter 11

                      Debtor.


                    DEBTOR’S MOTION TO CONTINUE HEARING


         On March 14, 2018, B.E. Capital filed a motion seeking to convert this case from a

chapter 11 case to a chapter 7 case. [Doc. 602] The Debtor filed a Response to BE Capital’s

Motion to Convert on April 4, 2018. [Doc. 628] The hearing on BE Capital’s Motion to

Convert is set for Tuesday, April 10, 2018 at 2:30 p.m. CST. The hearing on approval of

Debtor’s Disclosure Statement was also continued until Tuesday, April 10, 2018 at 2:30 p.m.

CST [Doc. 619].

         Debtor previously advised the Court that it would be appointing Mr. David Velde as

the Plan Administrator under the proposed Disclosure Statement and Plan. Debtor intends to

call Mr. Velde to testify with respect to BE Capital’s Motion to Convert. Unfortunately, Mr.

Velde is traveling to Europe and will be unavailable until after April 28, 2018. Debtor

believes Mr. Velde’s testimony would assist the Court in determining if the creditors would

benefit by keeping this case as a Chapter 11 vs. converting to a Chapter 7. The US Trustee’s

office has indicated it does not oppose a continuance to allow for Mr. Velde’s appearance.

         WHEREFORE, Debtor requests the Court continue the hearing currently set for

Tuesday, April 10, 2018 until the first or second week in May 2018 to allow for Mr. Velde’s

appearance at the hearing.
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    Dated this 9th day of April, 2018.

                                         VOGEL LAW FIRM


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